                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                             DOCKET NO. 3:11CR190-MOC


UNITED STATES OF AMERICA,                         )
                                                  )
                                Plaintiff,        )               ORDER AMENDING
                                                  )              PRELIMINARY ORDER
                   v.                             )                OF FORFEITURE
                                                  )
(2) KIMBERLY BRIDGES MORRIS                       )
(3) MICHAEL MORRIS,                               )
                                                  )
                                Defendants.       )


        THIS MATTER is before the Court on the Government’s Motion to amend two Preliminary

Orders of Forfeiture in this case to release one foreclosed parcel which is considered to have insufficient

value. No party has objected. The Government’s Motion will be granted.

        This Order shall apply only to the parcel referenced below, and not to any other portion of the

real property located at 1937 Tryon Courthouse Road in Cherryville, North Carolina.

        For the reasons stated in the Government’s Motion,

        IT IS THEREFORE ORDERED that the first Preliminary Orders as to these Defendants

filed on April 10, 2012 (Doc. 55) (Michael Morris), and on August 30, 2012 (Doc. 86)

(Kimberly Morris), are amended by deleting the reference to real property described in an

instrument “recorded at Book 4498, Page 493” in the Gaston County Public Registry.

        SO ORDERED.                               Signed: August 9, 2013




    Case 3:11-cr-00190-MOC-DSC                Document 173           Filed 08/09/13     Page 1 of 1
